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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



UNITED STATES OF AMERICA



V.                                                CRIMINAL CASE NO.3;20-CR-053

HARRY GEORGE PRASSENO,H,

                        Defendant.



                                             ORDER

        This matter is before the Court for consideration of a report and recommendation by the
Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty
to the specified charge in the pending matter pursuant to a Fed. R. Grim. P. 11 proceeding
conducted by the Magistrate Judge with the consent ofthe Defendant and counsel. It appearing
that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant
was given notice ofthe right to file specific objections to the report and recommendation that has
been submitted as a result ofthe proceeding; and it further appearing that no objection has been
asserted within the prescribed time period, it is hereby

        ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED
and the Defendant is found guilty of Count ONE(1)ofthe Criminal Information.



                                                                        /s/
                                                      Robert E. Payne
                    .                                 Senior United States District Judge
Date: November y ,2020
Richmond, Virginia
